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                           UNITED STATES DISTRICT CO URT
                           SO UTH ERN DISTRICT OF FLO RIDA

                        CASE NO :15-14303-CV-M IDDLEBRO OKS

 TIM OTHY D.W ILLSON,

        Plaintiff,

 V.

 BAN K OF AM ERICA,N .A,,

        Defendant.
                                        /

                                  ORDER LIFTING STAY

        THIS CAUSE comes before the Court on Defendant Bank of America, N .A.'S

 ('GDefendant'')M otion to LiftStay (ûdM otion'')(DE 106),filed on Februm'y 7,2018. After I
 ordered PlaintiffTimothy D.W illson (ssplaintiff')to file any response to Defendant's M otion
 (DE 107),Plaintiff represented that he does not oppose the Motion and seeks to resume
 proceedingsassoonaspossible(DE 108).
       On M ay 23,2016,I found that exceptionalcircumstances warranted abstention under

 ColoradoRiver.(DE 97).Accordingly,lstaytdthecasependingthtoutcomeofthtconcurrent
 statecourtforeclosureaction,and instructedthePartiesthatdilalnymotiontoliftthestaymustbe
 filedwithin20daysoftheresolution ofthestate foreclosureaction.'' (ld.at11). lntheinstant
 M otion,Defendantrepresentsthatwhile thism atterwas stayed,Florida'sFourth DistrictCourt

 ofAppealaffirmedpercurimn theforeclosurejudgmentonNovember22,2017. (DE 106 at3,
 Ex.A). TheappellatecourtthendeniedPlaintiffsmotion forissuanceofam itten opinion and
 forrehearingon January 10,2018(id.,Ex.B),and issued itsmandateon January26,2018(id.,
 Ex,C),
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        Since the basis for the stay of this m atter, the Ongoing state-court foreclosure

 proceedings,hasbeen resolved,and asthe Parties agreeto the reliefrequested in the M otion,I

  5nd good causeto lif4thestay.Accordingly,itishereby

        O RDERED AND ADJUDGED that

        (1)DefendantBankofAmerica,N.A.'SM otion toLiftStay(DE 106)isGRANTED.
        (2)TheClerkofCourtisdirectto LIFT THE STAY inthismatter.
        (3)W ithin 10 days of the entry of this Order,the Parties FILE a Joint Proposed
           Scheduling Orderforhow thismattershould proceed.

        DONE AND ORDERED inChambersinWestPalm Beach on aonthis W day
 ofApril,2018.



                                                   D A LD M .M ID DLEB RO O K S
                                                   UNITED STATES DISTRICT JU DGE

 Copiesto;CounselofRecord




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